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                              UNTED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                  (SOUTHERN DIVISION)


 IN RE: MARRIOTT INTERNATIONAL
 CUSTOMER DATA SECURITY                            MDL No.: 19-md-2879
 BREACH LITIGATION
                                                   Individual Case No.: 8:19-cv-00059

                                                   JUDGE GRIMM
 THIS DOCUMENT RELATES TO ALL
 ACTIONS




                                  ENTRY OF APPEARANCE


TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance in this case as counsel for Plaintiffs Adam Savett and Edward

Schwartz. I certify that I am admitted to practice in this Court pro hac vice.

 Dated: April 18, 2019                          Respectfully submitted,

                                                /s/ Beau D. Hollowell
                                                Beau D. Hollowell (pro hac vice)
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                                                Attorney for Plaintiffs
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 18, 2019, a copy of the foregoing was filed electronically

with the Clerk of the Court in accordance with the Court’s Electronic Filing Guidelines. Notice

of this filing will be sent to all registered counsel by operation of the Court’s Electronic Filing

System. Parties may access this filing through the CM/ECF system.



                                                /s/ Beau D. Hollowell
                                                Beau D. Hollowell
